          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr233-2


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                      ORDER
                          )
                          )
MIGUEL LORIA.             )
                          )



      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Petition of Alma Loria [Doc. 67].

      On March 17, 2009, the Defendant entered into a plea agreement

with the Government pursuant to which he pled guilty to Counts 1, 2 and 4

of the bill of indictment; that is, conspiracy to commit false claims;

conspiracy to defraud; and aggravated identity theft, in violation of 18

U.S.C. §§286, 371 & 1028A(a)(1). [Doc. 45]. Based on the forfeiture notice

contained within the bill of indictment and the Defendant’s plea agreement,

the undersigned entered a Consent Order and Judgment of Forfeiture on

May 18, 2009. [Doc. 52]. The Government then served notice of the

forfeiture proceeding to potential third parties by internet publication. [Doc.



   Case 3:08-cr-00233-MOC-DCK      Document 78    Filed 09/21/09   Page 1 of 5
53]. Included within the notice was a directive that any person claiming an

interest in the property to be forfeited must file a petition, signed under

penalty of perjury, no later than July 19, 2009. [Doc. 53-2].

      On July 21, 2009, the Defendant’s wife, Alma Loria, filed a document

which she styled “Petition of Interest.” [Doc. 61]. Although she signed the

document, she did not do so under penalty of perjury. Because the

Government did not attempt to serve Ms. Loria with notice of the forfeiture,

the undersigned required that it make efforts to ascertain her current

residence. [Doc. 72]. The Government then responded that the parties’

former residence had been foreclosed,1 the Defendant declined to provide

any information as to his wife’s whereabouts and it was believed that she

had left the United States. [Doc. 77].

      The Government advises in the motion to dismiss that notice was

provided pursuant to the official government forfeiture website for thirty

consecutive days in compliance with Supplemental Rule G(4) of the

Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions. The Government did not mail actual notice to Ms. Loria

because she was not identified in any documents or motor vehicle records


      1
          This residence is not identified as a property to be forfeited.

                                                2


   Case 3:08-cr-00233-MOC-DCK             Document 78       Filed 09/21/09   Page 2 of 5
as a potential claimant of the bank accounts and motor vehicle at issue.

There was also no indication that Ms. Loria had any business interests in

the property to be forfeited. 21 U.S.C. §853(n)(1) (“The Government may

also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in the property that is the subject of the

order of forfeiture as a substitute for published notice as to those persons

so notified.”).

      The last date that the forfeiture notice to interested third parties was

published was June 18, 2009. [Doc. 53-2]. Ms. Loria’s petition, filed July

21, 2009, was untimely because she filed it more than thirty days after the

last publication date. 21 U.S.C. §853(n)(2) (“Any person, other than the

defendant, asserting a legal interest in property which has been ordered

forfeited to the United States ... may, within thirty days of the final

publication of notice ... petition the court for a hearing to adjudicate the

validity of his alleged interest in the property.”). Because it is untimely,

any interest which she may have had in the property has been forfeited.

United States v. Marion, 562 F.3d 1330, 1336-37 (11th Cir. 2009); United

States v. Grossman, 501 F.3d 846, 848 (7th Cir. 2007), certiorari denied

sub nom Aurora Loan Services, LLC v. United States, 128 S.Ct. 1098, 169


                                        3


   Case 3:08-cr-00233-MOC-DCK      Document 78     Filed 09/21/09   Page 3 of 5
L.Ed. 812 (2008).

      In addition, the petition is invalid because it was not signed under

penalty of perjury. 21 U.S.C. §853(n)(3) (“The petition shall be signed by

the petitioner under penalty of perjury[.]”).

      In order to stand before a court and contest a forfeiture, a
      claimant must meet both Article III and statutory standing
      requirements. To establish statutory standing in a forfeiture case,
      the claimant must comply with the procedural requirements[.] The
      most significant requirement is that the claimant must timely file
      a verified statement of interest, as required by [21 U.S.C.
      §853(n)]. ... The requirement that the claimant file a timely verified
      statement serves two purposes. First, it forces claimants “to
      come forward as quickly as possible after the initiation of
      forfeiture proceedings, so that the court may hear all interested
      parties and resolve the dispute without delay.” Second, it
      “minimize[s] the danger of false claims by requiring claims to be
      verified or solemnly affirmed.”          For these reasons, the
      requirement “is no merely procedural technicality.” A claimant
      who fails to file a verified statement has no standing to contest a
      forfeiture. Courts have repeatedly emphasized that forfeiture
      claimants must strictly adhere to the filing requirements to perfect
      standing.

United States v. $487,825, 000 in U.S. Currency, 484 F.3d 662, 664-65 (3rd

Cir. 2007) (citations omitted) (civil forfeiture context); United States v.

Edwards, 2007 WL 2088608 **2 (W.D.La. 2007) (criminal forfeiture

context); United States v. 328 Pounds More or Less of Wild American

Ginseng, 347 F.Supp.2d 241, 249 (W.D.N.C. 2004).



                                        4


   Case 3:08-cr-00233-MOC-DCK      Document 78     Filed 09/21/09   Page 4 of 5
        The Court therefore finds that the petition must be dismissed.2

        IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss Petition of Alma Loria [Doc. 67] is hereby GRANTED.

                                               Signed: September 21, 2009




        2
            Although the Government raised alternate grounds, it is unnecessary to address
them.

                                               5


   Case 3:08-cr-00233-MOC-DCK             Document 78     Filed 09/21/09    Page 5 of 5
